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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. CR S 10-223 JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   CONNIE DEVERS,                                      DATE: November 18, 2014
                                                         TIME: 1:30 p.m.
15                               Defendant.              COURT: Hon. John A. Mendez
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a hearing on November 18, 2014 at 1:30 p.m.

21          2.     By this stipulation, defendant now moves to continue the status conference until

22 December 9, 2014, at 9:30 a.m., and to exclude time between November 18, 2014, and December 9,

23 2014, under Local Code T4.

24          3.     The parties agree and stipulate, and request that the Court find the following:

25                 a)      The government has received a report of a competency evaluation of the

26          defendant. The government does not believe an evidentiary hearing is required as it agrees the

27          physician who wrote the report would testify consistently with its contents if called as a witness,

28          and the government does not wish to cross-examine. For this reason, the parties ask that the


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 1         evidentiary hearing scheduled for November 18 be vacated.

 2                 b)     The parties desire additional time to review the report, which was produced the

 3         week of November 10, so that they can make informed decisions regarding how to proceed. For

 4         these reasons, the parties request that a status conference be set in this matter on December 9,

 5         2014.

 6                 c)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7         et seq., within which trial must commence, the time period of November 18, 2014 to December

 8         9, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(A), (1)(D), (4)

 9         [Local Codes A, E, and N].

10 IT IS SO STIPULATED.

11
     Dated: November 17, 2014                               BENJAMIN B. WAGNER
12                                                          United States Attorney
13
                                                            /s/ PHILIP A. FERRARI
14                                                          PHILIP A. FERRARI
                                                            Assistant United States Attorney
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16
     Dated: November 17, 2014                               /s/ Philip Ferrari for
17                                                          Mark Reichel, Esq.
18                                                          Counsel for Defendant
                                                            Connie Devers
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20

21                                        FINDINGS AND ORDER

22         IT IS SO FOUND AND ORDERED this 17th day of November, 2014

23
                                                        /s/ John A. Mendez
24                                                   THE HONORABLE JOHN A. MENDEZ
                                                     UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME             2
      PERIODS UNDER SPEEDY TRIAL ACT
